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                           United States District Court
                            Southern District of Texas
                                Victoria Division
STATE OF TEXAS, et al.,
   Plaintiffs,
v.
                                                      Case 6:23-cv-00007
U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al.,
   Defendants.

                             J OI NT S T AT US R EPOR T
       At the Court’s request to “submit a joint status report providing a list of any

cases that challenge the Department of Homeland Security’s Parole Program for
Nationals of Cuba, Haiti, Nicaragua, and Venezuela or any similar program,” the
parties have met and conferred and submit the following report.
       The parties are not aware of any other case challenging the parole processes

at issue in this case (“CHNV processes”).1 The parties are, however, aware of two
cases involving what may be a “similar program,” Texas v. Biden, No. 22-cv-780 (N.D.
Tex.) and Mass. Coalition for Immigration Reform v. U.S. Dept. of Homeland Security,
20-cv-3438 (D.D.C.). Both of those cases involve a programmatic challenge to the
“Central American Minors Program” (CAM), see 88 Fed. Reg. 21,694 (April 11, 2023),

which allows certain children and certain qualifying relatives from specific Central
American countries to seek parole into the United States to be reunited with their
families in the United States. Although there are key differences—including that


1See Implementation of a Parole Process for Haitians, 88 Fed. Reg. 1,243 (Jan. 9,
2023); Implementation of a Parole Process for Nicaraguans, 88 Fed. Reg. 1,255 (Jan.
9, 2023); Implementation of a Parole Process for Cubans, 88 Fed. Reg. 1,266 (Jan. 9,
2023); Implementation of Changes to the Parole Process for Venezuelans, 88 Fed.
Reg. 1,279 (Jan. 9, 2023); Implementation of a Parole Process for Venezuelans, 87
Fed. Reg. 63,507 (Oct. 19, 2022).
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CAM-eligible individuals must be children (and certain qualifying relatives) from El
Salvador, Guatemala, and Honduras with a parent or legal guardian present in the
United States within certain immigration categories and CAM parole is part of a
larger program that includes refugee processing, while CHNV is open to nationals of
Cuba, Haiti, Nicaragua, and Venezuela, and is not limited to children or individuals
with family members already present in the United States. Eligible applicants in
both processes are required to travel by plane to an airport in the United States to
seek parole, rather than attempt to enter the country at the southwest border.
       The parties are otherwise not aware of any cases challenging such parole
processes that might be a “similar program” on a programmatic basis.
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Dated: May 24, 2023.               Respectfully submitted,


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                                C ER T I F I CAT E   OF   S ER VI CE
       I certify that on May 24, 2023, I filed this motion through the Court’s CM/ECF
   system, which served it on all counsel of record.

                                             /s/ Erez Reuveni


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